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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF LOUISIANA
                                  MONROE DIVISION



    STATE OF LOUISIANA, by and through its
    Attorney General, Jeff Landry, et al.,

                       Plaintiffs,

             v.                                         Civil Action No. 3:21-CV-4370-TAD-KDM

    XAVIER BECERRA, in his official capacity
    as Secretary of Health and Human Services, et
    al.,

                       Defendants.


     DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF SANDY BRICK’S
     MOTION FOR JUDICIAL NOTICE OF CERTAIN FACTS IN SUPPORT OF HER
       CROSS-MOTION FOR SUMMARY JUDGMENT AND IN OPPOSITION TO
   DEFENDANTS’ MOTION TO DISMISS, OR IN THE ALTERNATIVE, MOTION FOR
                          SUMMARY JUDGMENT


          Defendants hereby respectfully submit this opposition to Plaintiff Sandy Brick’s Motion for

   Judicial Notice. See ECF No. 109 (hereinafter “Motion” or “Mot.”). The materials submitted by

   Plaintiff for judicial notice are provided outside of the well-developed administrative record and do

   not fit within the narrow exceptions that permit a Court to consider materials outside of this record

   in cases brought under the Administrative Procedure Act (“APA”). Further, these items are not

   relevant to this Court’s consideration of the issues in this case or are redundant of what is already

   found in the administrative record. Thus, there is no reason for the Court to take judicial notice of

   these items and to supplement the well-developed administrative record in considering the propriety

   of the Interim Final Rule, Vaccine and Mask Requirements to Mitigate the Spread of COVID 19 in

   Head Start Programs, 86 Fed. Reg. 68,052 (Nov. 30, 2021) (the “Rule”). For the reasons discussed



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   further herein, the Court should deny Plaintiff’s motion.

                                               ARGUMENT

           Plaintiff brings this suit primarily under the APA1 to enjoin implementation of the Department

   of Health & Human Services’ (“HHS”) Rule relating to vaccine and mask requirements in Head Start

   programs. See generally Am. Compl., Brick v. Biden, No. 2:21-cv-4386-JDC-KK (W.D. La. Apr. 15,

   2022), ECF No. 27. As courts have long held, “the focal point for judicial review should be the

   administrative record already in existence, not some new record made initially in the reviewing court.”

   Camp v. Pitts, 411 U.S. 138, 142 (1973); see also 5 U.S.C. § 706 (“[T]he court shall review the whole

   record or those parts of it cited by a party.”). In other words, “[r]eview is limited to the record

   compiled by the agency.” Medina Cnty. Envt’l Action Ass’n v. Surface Transp. Bd., 602 F.3d 687, 706 (5th

   Cir. 2010); see also W&T Offshore, Inc. v. Jewell, No. 14-cv-2449, 2016 WL 5724907, at *2 (W.D. La.

   Sept. 30, 2016). As a result, well-established caselaw makes abundantly clear that judicial review should

   generally be limited to the administrative record before the Court.2

           Nonetheless, the Fifth Circuit recognizes certain narrow exceptions that permit a district court

   to consider evidence outside the administrative record—i.e., “[s]upplementation of the administrative

   record.” Medina Cnty., 602 F.3d at 706. As the Medina court summarized:

           Supplementation may be permitted when:
           (1) the agency deliberately or negligently excluded documents that may have been
           adverse to its decision, . . .
           (2) the district court needed to supplement the record with “background information”
           in order to determine whether the agency considered all of the relevant factors, or
           1
              Plaintiff does bring several counts alleging that the Rule violates the United States
   Constitution, See Am. Compl. ¶¶ 85–101, Brick v. Biden, No. 2:21-cv-4386-JDC-KK (W.D. La. Apr. 15,
   2022), ECF No. 27. However, the documents in question play no role with respect to those claims.
   See Pl. Sandy Brick’s Mem. Supporting her Cross-Motion for Summary Judgment at 25–27, ECF
   No. 111 (making purely legal arguments in support of her constitutional claims). Instead, they are used
   solely in connection with Plaintiff’s APA claims.
            2
              Defendants do not dispute that government websites are the type of resource of which a court
   may take judicial notice in appropriate circumstances. Mot. at 2. Rather, Defendants object to the
   Court taking judicial notice of such websites in an APA case that is properly confined to review of the
   administrative record.


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           (3) the agency failed to explain administrative action so as to frustrate judicial review.

   Id. (omission in original) (quoting Am. Wildlands v. Kempthorne, 530 F.3d 991, 1002 (D.C. Cir. 2008)).

           Plaintiff says that documents outside of the administrative record are appropriate for

   consideration where they do not “supplement” the administrative record. Mot. at 2. However,

   supplementation is precisely what Plaintiff is asking the Court to do, i.e., to consider materials that are

   outside of the administrative record. See, e.g., Bruce v. Azar, 389 F. Supp. 3d 716, 724 (N.D. Cal. 2019),

   aff’d, 826 F. App’x 643 (9th Cir. 2020). And Plaintiff’s materials do not fit within any of the narrow

   exceptions for supplementation. Indeed, her Motion does not identify these circumscribed limits to

   going beyond the administrative record. None of Plaintiff’s submissions for judicial notice provide

   necessary background information not adequately explained in the record; none of them show that

   HHS excluded documents—deliberately, negligently, or otherwise—that may have been adverse to its

   decision; and Plaintiff does not argue that the administrative record fails to explain HHS’s decision so

   as to frustrate judicial review.

           Plaintiff argues that “Documents 1 and 4 are necessary evidence of the agency’s policy as it

   existed prior to the adoption of [the Rule],” suggesting potentially that HHS improperly failed to

   include these items in the record. Mot. at 3. But Plaintiff identifies no reason to believe HHS

   considered these documents in its decision-making process, and thus, they are not part of the

   administrative record.3 Further, Plaintiff’s claims that these documents “are necessary to establish the



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              In support of Plaintiff’s claim that prior policies can be considered when outside of the
   administrative record, she cites to Wages & White Lion Investments, L.L.C. v. FDA, 16 F.4th 1130, 1138
   (5th Cir. 2021), and Texas v. Becerra, No. 5:21-cv-300-H, 2021 WL 6198109, at *17 (N.D. Tex. Dec. 31,
   2021). In neither of these cases, however, did the court consider materials outside of the administrative
   record. In Wages & White, the Fifth Circuit compared the agency’s rules—published in the federal
   register—with the challenged denial of the plaintiff’s administrative application. Wages & White Lion
   Invs., 16 F.4th at 1138. Nowhere did the court suggest that it was supplementing the administrative
   record. And in Texas, the court, reviewing the Head Start Rule at issue in this case, considered a CDC
   study that was included in the administrative record as evidence of Head Start’s pre-Rule policy. Texas,
   2021 WL 6198109, at *17.


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   prior policy,” Mot. at 3, are not availing. Document 1 does not show any prior policy, but rather is a

   transcript of a near hour-long press briefing by the White House Press Secretary on a multitude of

   issues—none of which included a discussion of the Head Start Rule, a predecessor policy, or even

   HHS’s perspective on the necessity of requiring vaccines and masks. Similarly, Document 4 is a

   webinar that was offered by the OHS and not some prior policy. The webinar discusses how to

   provide technical assistance to grantees of the Head Start Program about combating vaccine

   hesitancy.4 And to the extent that Plaintiff is offering this webinar to critique HHS’s subsequent, actual

   policy when it issued the Rule requiring vaccines for Head Start participants, the preamble of the Rule

   specifies exactly why HHS chose to require vaccination despite previous efforts to encourage

   voluntary vaccination. See, e.g., AR00002–AR00007; see also AR00008 (“[A] combination of factors,

   including . . . failure to achieve sufficiently high levels of vaccination based on voluntary efforts and

   patchwork requirements, . . . have persuaded us that a vaccine requirement for Head Start staff, certain

   contractors, and volunteers is an essential component of the nation’s COVID-19 response.”). Thus,

   the webinar cited by Plaintiff adds nothing to the Court’s analysis.

           Plaintiff’s other argument for having the Court consider materials outside the administrative

   record is that “Documents 2 and 3 are evidence of the pretextual nature of the decision (in other

   words, Plaintiff alleges that the decision-maker made the decision for reasons not in the record).” Mot.

   at 2. But Plaintiff does not show bad faith in HHS’s decision-making process so as to permit judicial

   notice of these materials. Nor are these materials relevant to pretext despite Plaintiff’s cursory

   assertion otherwise.

           Document 2 is merely a transcript of a September 9, 2021 speech confirming what the Rule



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           Plaintiff cites to the webinar as being dated “July 14, 2022,” Mot. at 2, but it appears that the
   webinar was delivered on July 14, 2021. See Mental Health and Staff Wellness: Emotionally Strong
   Together, HHS (July 14, 2021), https://eclkc.ohs.acf.hhs.gov/video/mental-health-staff-wellness-
   emotionally-strong-together.


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   ultimately implemented, which was a vaccination requirement for Head Start employees. See Remarks

   by President Biden on Fighting the COVID-19 Pandemic, The White House (Sept. 9, 2021),

   https://www.whitehouse.gov/briefing-room/speeches-remarks/2021/09/09/remarks-by-president-

   biden-on-fighting-the-covid-19-pandemic-3/ (“Tonight, I’m announcing that we’ll require all of nearly

   300,000 educators in the federal paid program, Head Start program, must be vaccinated as well to

   protect your youngest—our youngest—most precious Americans and give parents the comfort.”).

   Further, this document is redundant to what is already in the administrative record as the preamble of

   the Rule expressly notes the President’s September 9, 2021 speech and how it announced the Head

   Start vaccination requirement. See AR00018 (“On September 9, 2021, President Biden announced the

   ‘Path Out of the Pandemic’ COVID-19 Action Plan, which announced the development of a Head

   Start vaccination requirement, and other elements of a national strategy to combat COVID-19.”).

   Document 3 also does not show bad faith or pretext in HHS’s decision making around the Rule in

   support of Plaintiff’s arguments. As with Document 2, it reiterates the announcement of a vaccination

   requirement for Head Start employees and its announcement by the President, which later became the

   Rule at issue here and which was noted in the administrative record. See, e.g., AR00018. Thus, as with

   Document 2, Document 3 add no new information that would inform this Court’s analysis apart from

   the administrative record and does not support Plaintiff’s contention “that the decision-maker made

   the decision for reasons not in the record.” Mot. at 2.

          In justifying the use of these documents, Plaintiff argues that “[c]ourts regularly review extra-

   record evidence when establishing whether an administrative decision was made for pretextual

   reasons” and cites the cases of Sarsour v. Trump, 245 F. Supp. 3d 719 (E.D. Va. 2017) and Hawaii v.

   Trump, 241 F. Supp. 3d 1119 (D. Haw. 2017). But those cases are particularly inapposite here. Both

   cases involved the consideration of evidence beyond the face of presidential executive orders being

   challenged, which the plaintiffs there believed was necessary to show an underlying discriminatory



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   purpose of those orders as relevant to constitutional claims brought under the Establishment Clause.

   See Sarsour, 245 F. Supp. 3d at 735 (“The Court must therefore first determine to what extent and on

   what basis it will look behind the Order’s stated secular purpose and justification to determine whether

   EO-2 constitutes a subterfuge or pretext for a true purpose of religious discrimination.”); Hawaii, 241

   F. Supp. 3d at 1135 (“It is well established that evidence of purpose beyond the face of the challenged

   law may be considered in evaluating Establishment and Equal Protection Clause claims.” (citation

   omitted)). Yet, claims of religious or other discrimination sometimes involve consideration of whether

   a facially neutral policy or measure is pretextual. That is not so with APA claims, such as Plaintiff’s.

   These cases are even more inapposite here because they involved instances where the facially

   legitimate and non-discriminatory rationales for a policy were directly contradicted by prior

   statements. See, e.g., Hawaii, 241 F. Supp. 3d at 1137 (“These plainly-worded statements, made in the

   months leading up to and contemporaneous with the signing of the Executive order, and, in many

   cases, made by the Executive himself, betray the Executive Order’s stated secular purpose.” (emphasis

   added)). That is not so with Documents 2 and 3, which announced the Head Start vaccination

   requirement that came to be, and which are expressly mentioned in the preamble of the Rule. Thus,

   Plaintiff’s cases do not support the consideration of either document outside of the administrative

   record to show pretext.

                                             CONCLUSION

          For the reasons set forth above, the Court should deny Plaintiff’s motion for judicial notice.



   Dated: August 24, 2022                                  Respectfully submitted,

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